              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:02-cr-000105-MR-DLH-3


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                         ORDER
                                )
MITCHELL DAVID COLLINS,         )
                                )
                   Defendant.   )
_______________________________ )

      THIS MATTER is before the Court on the Defendant’s “Motion to

Hold § 3582(c)(2) Motion in Abeyance” [Doc. 575].

      For the reasons stated in the Defendant’s Motion, the Court shall hold

the Defendant’s motion for a sentence reduction pursuant to 18 U.S.C. §

3582(c)(2) in abeyance until at least November 1, 2014, when Amendment

782 is due to take effect.

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion [Doc.

575] is GRANTED, and the Defendant’s Motion for Sentence Modification

[Doc. 574] shall be HELD IN ABEYANCE until further Order of this Court.
                                    Signed: September 5, 2014
      IT IS SO ORDERED.




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